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13
                                UNITED STATES DISTRICT COURT
14
                              SOUTHERN DISTRICT OF CALIFORNIA
15
      KATIE RENVALL, individually and on                     '18CV0809 H NLS
                                                   Case No. ____________
16    behalf of all others similarly situated,
                                                   CLASS ACTION COMPLAINT
17                                      Plaintiff,
                                                   DEMAND FOR JURY TRIAL
18                        vs.

19 ALBERTSONS COMPANIES LLC,

20                                  Defendant.

21

22          Plaintiff Katie Renvall, individually and on behalf of all others similarly
23 situated, complains and alleges as follows based on personal knowledge as to

24 herself, on the investigation of her counsel, and on information and belief as to

25 all other matters.      Plaintiff believes that substantial evidentiary support will
26 exist for the allegations set forth in this complaint, after a reasonable
27 opportunity for discovery.

28
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 1                                 NATURE OF ACTION
 2         1.    Plaintiff brings this action for legal and equitable remedies resulting
 3 from the illegal actions of Albertsons Companies LLC in negligently, knowingly,

 4 or willfully transmitting unsolicited, autodialed SMS or MMS text messages,        en
 5    masse, to Plaintiff’s cellular device and the cellular devices of numerous other
 6 individuals across the country, in violation of the Telephone Consumer

 7 Protection Act, 47 U.S.C. § 227 (“TCPA”).

 8                              JURISDICTION AND VENUE
 9         2.    This Court has subject-matter jurisdiction over this putative class
10 action lawsuit pursuant to 28 U.S.C. § 1331 and 47 U.S.C. § 227.

11         3.    Personal jurisdiction and venue are proper in this district because
12 Plaintiff’s claims arose in substantial part in this district and because Plaintiff

13 resides in this district.    Defendant directed an unsolicited text message to
14 Plaintiff’s cellular device in this district by transmitting the message to a cellular

15 telephone number that bears an area code (619) corresponding to a location in

16 this district. The text message sent by Defendant was received by Plaintiff on

17 her cellular device in this district.     Defendant also operates and maintains
18 numerous brick-and-mortar grocery stores in this district.
19                                        PARTIES
20         4.    Plaintiff is, and at all times mentioned herein was, an individual and
21 a “person” as defined by 47 U.S.C. § 153(39) and a citizen and resident of San

22 Diego, California.

23         5.    Defendant Albertsons Companies LLC is, and at all times mentioned
24 herein was, a “person” as defined by 47 U.S.C. § 153(39).          Defendant is the
25 second-largest supermarket chain in North America and does business

26 throughout the United States, including in this district. Defendant maintains its
27 corporate headquarters in Boise, Idaho.

28

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 1               THE TELEPHONE CONSUMER PROTECTION ACT OF 1991
 2         6.    To address consumer complaints regarding certain telemarketing
 3 practices, Congress enacted the TCPA, 47 U.S.C. § 227, in 1991.           The TCPA
 4 prohibits, inter alia, the use of automated telephone equipment, or “autodialers,”

 5 to make any call, including sending a text message, to a wireless number absent

 6 an emergency or the “prior express consent” of the party called. And in the case

 7 of calls or text messages that constitute “advertisements” or “telemarketing”, as

 8 defined by applicable regulations, the TCPA requires the “prior express written

 9 consent” of the called party before initiating such calls or texts via an autodialer.

10         7.    According to findings by the Federal Communication Commission
11 (“FCC”), which is vested with authority to issue regulations implementing the

12 TCPA, autodialed calls and texts are prohibited because receiving them is a

13 greater nuisance and invasion of privacy than live solicitation calls and they can

14 be costly and inconvenient. The FCC also recognized that wireless customers are

15 charged for such incoming calls and texts whether they pay in advance or after

16 the minutes or texts are used.

17         8.    One of the most prevalent bulk advertising methods employed by
18 companies today involves the use of “Short Message Services” (or “SMS”), which
19 is a system that allows for the transmission and receipt of short text messages to

20 and from wireless telephones.        Another similar service called “Multimedia
21 Messaging Services” (or “MMS”) is based upon and similar to the SMS system,

22 but also permits the transmission of photos and videos via text message.

23 According to a recent study, “[s]pam isn’t just for email anymore; it comes in the

24 form of unwanted text messages of all kinds — from coupons to phishing

25 schemes — sent directly to user’s cell phones.”
                                                   1


26    1  Amanda Lenhart, Cell Phones and American Adults: They Make Just as
   Many   Calls, but Text Less than Teens, Pew Research Center (2010),
27 http://www.pewinternet.org/Reports/2010/Cell-Phones-and-American-

28
   Adults.aspx (last visited May 21, 2015).

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 1
            9.    SMS and MMS text messages are directed to a wireless device
 2
      through a telephone number assigned to the device. When an SMS or MMS text
 3
      message is successfully transmitted, the recipient’s wireless phone alerts the
 4
      recipient that a message has been received. Because wireless telephones are
 5
      carried on their owners’ persons, SMS and MMS text messages are received
 6
      virtually anywhere in the world.
 7
            10.   Unlike more conventional advertisements, SMS and MMS message
 8
      advertisements can actually cost their recipients money because wireless phone
 9
      users must pay their wireless service providers either for each text message
10
      they receive or incur a usage allocation deduction to their text messaging or data
11
      plan, regardless of whether the message is authorized.
12
            11.   Moreover, the transmission of an unsolicited SMS or MMS text
13
      message to a cellular device is distracting and aggravating to the recipient;
14
      intrudes upon the recipient’s seclusion; wastes a quantifiable amount of
15
      available data on the recipient’s cellular device, thereby reducing its data storage
16
      capacity; temporarily reduces the available computing power and application
17
      processing speed on the recipient’s device; diminishes the available battery
18
      power, and thus shortens the battery life, of the recipient’s cellular device; and
19
      requires expending a quantifiable amount of energy (i.e., electricity) to recoup
20
      the battery power lost as a result of receiving such a message.
21
                     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
22
            12.   Plaintiff is, and at all times mentioned herein was, the subscriber of
23
      the cellular telephone number (619) ***-5024 (the “5024 Number”). The 5024
24
      Number is, and at all times mentioned herein was, assigned to a cellular
25
      telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).
26
            13.   On or about March 15, 2018, Defendant transmitted or caused to be
27
      transmitted, by itself or through an intermediary or intermediaries, an SMS or
28

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 1
      MMS text message advertisement to the 5024 Number without Plaintiff’s
 2
      express consent, written or otherwise.      The text message transmitted by
 3
      Defendant to the 5024 Number is depicted below:
 4

 5

 6

 7

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16

17
           14.     The hyperlink contained within the above-depicted text message,
18
      http://bit.ly/2zcbQgN, is leased or owned, and is operated and maintained, by
19
      Defendant.
20
           15.     When visited, the URL http://bit.ly/2zcbQgN re-directs to another
21
      website, https://www.safeway.com/CMS/account/register/?bannerId=alberts
22
      ons&cmpid=sms_reg_alb_POS_wk04, also owned and operated by Defendant, at
23
      which Defendant requests that the visitor register for Defendant’s “Just for U”
24
      and “Gas Rewards” services by submitting various personal information, in
25
      order for the Defendant to more effectively market its goods and services.
26
      Specifically, this registration website informs visitors that, by completing the
27
      registration form, “[y]ou're one step away from unlocking great savings!” –
28

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 1
      including “personalized deals,” “digital coupons,” “free products,” “gas reward
 2
      points,” and “discounts automatically at checkout.”2
 3
            16.   Defendant’s registration website further states that, inter alia, “If you
 4
      opted into 46395 you can opt out at any time. Text HELP to 46395 for help. Text
 5
      STOP to 46395 to cancel. Message and data rates may apply. Maximum of 4
 6
      messages per month. See Terms of Use and Privacy Policy.”3 Thus, Defendant
 7
      appears to acknowledge on its own registration website that individuals will
 8
      receive text messages directing them there without ever having opted in to
 9
      receive Defendant’s invasive, automated text messages in the first place, as
10
      happened to Plaintiff here.
11
            17.   The “Privacy Policy” hyperlink on Defendant’s registration website
12
      links the visitor to another website which states, inter alia, that “you may opt out
13
      of receiving [text messages] by using the method provided in the … text
14
      message[.]”4 However, the March 15, 2018 text message sent by Defendant to
15
      the 5024 Number contained no method for Plaintiff to instruct Defendant to stop
16
      sending her text messages.
17
            18.   The source of the unsolicited text message advertisement that
18
      Defendant sent to the 5024 Number was “46395”, which is a short code leased
19
      by Defendant or Defendant’s agent(s) or affiliate(s) and is used for operating
20
      Defendant’s text message marketing program.
21
            19.   Because Plaintiff is alerted by her cellular device, by auditory or
22
      visual means, whenever she receives a text message, the unsolicited SMS or MMS
23

24    2 “Registration,” Albertsons Companies LLC, available at https://www.
   safeway.com/CMS/account/register/?bannerId=albertsons&cmpid=sms_reg_al
25 b_POS_wk04 (last accessed April 24, 2018).

26    3
            Id. (emphasis added).
27    4  “Privacy Policy,” Albertsons Companies LLC, available at https://www.
28
   albertsons.com/privacy-policy/  (last accessed April 24, 2018).

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 1
      text message that Defendant transmitted to Plaintiff’s cellular device invaded
 2
      Plaintiff’s privacy and intruded upon Plaintiff’s seclusion upon receipt. Plaintiff
 3
      became distracted and aggravated as a result of receiving Defendant’s
 4
      unsolicited text message advertisement.
 5
            20.    Numerous other consumers have voiced grievances to Defendant on
 6
      social media after having received the same exact message Plaintiff received
 7
      from Defendant, during roughly the same period of time. For example:
 8

 9

10

11

12

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19

20

21
            21.    All telephone contact by Defendant or affiliates, subsidiaries, or
22
      agents of Defendant to Plaintiff at the 5024 Number occurred via an “automated
23
      telephone dialing system” as defined by 47 U.S.C. § 227(b)(1)(A).
24
            22.    Specifically, Defendant utilized an “automated telephone dialing
25
      system” because the text messages to the 5024 Number were sent from “46395”,
26
      which is a short code telephone number used to message consumers en masse;
27
      because     Defendant’s   automated    dialing   equipment     includes   features
28

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 1
      substantially similar to a predictive dialer, inasmuch as it is capable of making
 2
      numerous calls or texts simultaneously (all without human intervention); and
 3
      because the hardware and software used by Defendant to send such messages
 4
      have the capacity to store, produce, and dial random or sequential numbers, or
 5
      receive and store lists of telephone numbers, and to dial such numbers, en
 6
      masse, in an automated fashion and without human intervention.
 7
            23.    And indeed, Defendant actually transmitted the text messages at
 8
      issue in this case to Plaintiff and all other putative class members in an
 9
      automated fashion and without human intervention, with hardware and
10
      software that stores, produces and dials random or sequential numbers. In fact,
11
      on Defendant’s “Privacy Policy” website, which contains an “updated” date of
12
      April 13, 2018, Defendant admits that, inter alia, its text messages “may be sent
13
      by automated means.”5
14
            24.    The complained of text message sent by Defendant to the 5024
15
      Number on March 15, 2018 constituted an “advertisement” and/or
16
      “telemarketing” material within the meaning of the applicable TCPA regulations.
17
      This is because Defendant sent the text message in order to advertise the
18
      commercial availability of its “Just for U” service and “Gas Rewards” service, as
19
      well as its mobile messaging service itself, and also because Defendant sent the
20
      text message for the purpose of advertising the sale of its grocery and gas goods
21
      to Plaintiff in the future.
22
            25.    Plaintiff never provided her “prior express written consent” or any
23
      other form of consent to Defendant or any affiliate, subsidiary, or agent of
24
      Defendant to transmit SMS or MMS text messages to the 5024 Number by means
25
      of an “automatic telephone dialing system,” within the meaning of 47 U.S.C.
26
      § 227(b)(1)(A).
27
      5     “Privacy Policy,” Albertsons Companies LLC, available at https://www.
28 albertsons.com/privacy-policy/ (last accessed April 24, 2018).

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 1
                                       CLASS ALLEGATIONS
 2
            26.      Class Definition. Plaintiff brings this civil class action on behalf of
 3
      herself individually and on behalf of all other similarly situated persons as a
 4
      class action pursuant to Federal Rule of Civil Procedure 23. The “Class” which
 5
      Plaintiff seeks to represent is comprised of and defined as follows:
 6
                           All persons within the United States who, between
 7                   April 27, 2014 and the present, received one or more
                     SMS or MMS text message(s) from Albertsons
 8                   Companies LLC or an affiliate, subsidiary, or agent of
                     Albertsons Companies LLC and who did not provide
 9                   Albertsons Companies LLC prior express written
                     consent to receive such SMS or MMS text message(s).
10
            27.      Defendant, its employees, and agents are excluded from the Class.
11
            28.      Plaintiff reserves the right to modify the definition of the Class (or
12
      add one or more subclasses) after further discovery.
13
            29.      Plaintiff and all Class members have been impacted and harmed by
14
      the acts of Defendant or its affiliates or subsidiaries.
15
            30.      This Class Action Complaint seeks injunctive relief and monetary
16
      damages.
17
            31.      This action may properly be brought and maintained as a class
18
      action pursuant to Federal Rule of Civil Procedure 23(a) and (b). This class
19
      action      satisfies   the   numerosity,     typicality,   adequacy,   commonality,
20
      predominance, and superiority requirements.
21
            32.      Upon application by Plaintiff’s counsel for certification of the Class,
22
      the Court may also be requested to utilize and certify subclasses in the interests
23
      of manageability, justice, or judicial economy.
24
            33.      Numerosity. The number of persons within the Class is substantial,
25
      believed to amount to tens of thousands of persons dispersed throughout the
26
      United States. It is, therefore, impractical to join each member of the Class as a
27
      named Plaintiff. Further, the size and relatively modest value of the claims of the
28

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 1
     individual members of the Class renders joinder impractical. Accordingly,
 2
     utilization of the class action mechanism is the most economically feasible
 3
     means of determining and adjudicating the merits of this litigation.
 4
           34.   Typicality. Plaintiff received at least one text message through the
 5
     use of an automatic telephone dialing system, without providing prior express
 6
     written consent to the Defendant within the meaning of the TCPA. Consequently,
 7
     the claims of Plaintiff are typical of the claims of the members of the Class, and
 8
     Plaintiff’s interests are consistent with and not antagonistic to those of the other
 9
     Class members she seeks to represent. Plaintiff and all members of the Class
10
     have been impacted by, and face continuing harm arising out of, Defendant’s
11
     violations or misconduct as alleged herein.
12
           35.   Adequacy. As Class representative, Plaintiff has no interests adverse
13
     to, or which conflict with, the interests of the absent members of the Class, and is
14
     able to fairly and adequately represent and protect the interests of such a Class.
15
     Plaintiff has raised viable statutory claims of the type reasonably expected to be
16
     raised by members of the Class and will vigorously pursue those claims. If
17
     necessary, Plaintiff may seek leave to amend this Class Action Complaint to add
18
     additional Class representatives or assert additional claims.
19
           36.   Competency of Class Counsel. Plaintiff has retained and is
20
     represented by experienced, qualified, and competent counsel committed to
21
     prosecuting this action. Counsel are experienced in handling complex class
22
     action claims, in particular claims under the TCPA and other data privacy and
23
     consumer protection statutes.
24
           37.   Commonality and Predominance. There are well-defined common
25
     questions of fact and law that exist as to all members of the Class and
26
     predominate over any questions affecting only individual members of the Class.
27
     These common legal and factual questions, which do not vary from Class
28

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 1
     member to Class member and may be determined without reference to the
 2
     individual circumstances of any class member, include (but are not limited to)
 3
     the following:
 4
                 a) Whether Defendant or affiliates, subsidiaries, or agents
 5
                      of Defendant transmitted advertising or telemarketing
 6
                      text messages to Plaintiff’s and Class members’ cellular
 7
                      telephones;
 8
                 b) Whether such text messages were sent using an
 9
                      “automatic telephone dialing system”;
10
                 c) Whether Defendant or affiliates, subsidiaries, or agents
11
                      of Defendant can meet their burden to show Defendant
12
                      obtained prior express written consent (as defined by 47
13
                      C.F.R. 64.1200(f)(8)) to send the text messages
14
                      complained of, assuming such an affirmative defense is
15
                      raised;
16
                 d) Whether the complained of conduct was knowing or
17
                      willful;
18
                 e) Whether Defendant or affiliates, subsidiaries, or agents
19
                      of Defendant should be enjoined from engaging in such
20
                      conduct in the future.
21
           38.   Superiority. A class action is superior to other available methods for
22
     the fair and efficient adjudication of this controversy because individual
23
     litigation of the claims of all Class members is impracticable. Even if every
24
     member of the Class could afford to pursue individual litigation, the Court
25
     system could not. It would be unduly burdensome to the courts in which
26
     individual litigation of numerous cases would proceed. Individualized litigation
27
     would also present the potential for varying, inconsistent or contradictory
28

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 1
     judgments, and would magnify the delay and expense to all parties and to the
 2
     court system resulting from multiple trials of the same factual issues. By
 3
     contrast, the maintenance of this action as a class action, with respect to some or
 4
     all of the issues presented herein, presents few management difficulties,
 5
     conserves the resources of the parties and of the court system and protects the
 6
     rights of each member of the Class. Plaintiff anticipates no difficulty in the
 7
     management of this action as a class action. Class wide relief is essential to
 8
     compel compliance with the TCPA. The interest of Class members in individually
 9
     controlling the prosecution of separate claims is small because the statutory
10
     damages in an individual action for violation of the TCPA are small. Management
11
     of these claims is likely to present significantly fewer difficulties than are
12
     presented in many class claims because the text messages at issue are all
13
     automated and the Class members, by definition, did not provide the prior
14
     express written consent required under the statute to authorize such text
15
     messages to their cellular telephones. The Class members can be readily located
16
     and notified of this class action through Defendant’s records and, if necessary,
17
     the records of cellular telephone providers.
18
           39.   Additionally, the prosecution of separate actions by individual Class
19
     members may create a risk of multiple adjudications with respect to them that
20
     would, as a practical matter, be dispositive of the interests of other members of
21
     the Class who are not parties to such adjudications, thereby substantially
22
     impairing or impeding the ability of such nonparty Class members to protect
23
     their interests. The prosecution of individual actions by Class members could
24
     further establish inconsistent results and/or establish incompatible standards of
25
     conduct for Defendant.
26
           40.   Defendant or any affiliates, subsidiaries, or agents of Defendant have
27
     acted on grounds generally applicable to the Class, thereby making final
28

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 1
     injunctive relief and corresponding declaratory relief with respect to the Class as
 2
     a whole appropriate. Moreover, on information and belief, Plaintiff alleges that
 3
     the TCPA violations complained of herein are substantially likely to continue in
 4
     the future if an injunction is not entered.
 5
                                     CLAIMS FOR RELIEF
 6
                               FIRST CLAIM FOR RELIEF
 7                     NEGLIGENT VIOLATION OF THE TELEPHONE
                             CONSUMER PROTECTION ACT
 8                                 (47 U.S.C. § 227)
 9         41.   Plaintiff incorporates by reference paragraphs 1-40 of this Class
10 Action Complaint as if fully stated herein.

11         42.   The foregoing acts and omissions constitute negligent violations of
12 the TCPA by Defendant, including but not limited to violations of each of the

13 above-cited provisions of 47 U.S.C. § 227.

14         43.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227,
15 Plaintiff and all Class members are entitled to, and do seek, injunctive relief

16 prohibiting such conduct violating the TCPA in the future.

17         44.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227,
18 Plaintiff and all Class members are also entitled to, and do seek, an award of
19 $500.00 in statutory damages for each and every text message transmitted in

20 violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3).

21         45.   Plaintiff and Class members also seek an award of attorneys’ fees
22 and costs.

23                           SECOND CLAIM FOR RELIEF
                     KNOWING AND/OR WILLFUL VIOLATION OF THE
24                     TELEPHONE CONSUMER PROTECTION ACT
                                 (47 U.S.C. § 227)
25
           46.   Plaintiff incorporates by reference paragraphs 1–40 of this Class
26
     Action Complaint as if fully stated herein.
27

28

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 1
           47.    The foregoing acts and omissions by Defendant constitute knowing
 2
     or willful violations of the TCPA, including but not limited to violations of each of
 3
     the above-cited provisions of 47 U.S.C. § 227.
 4
           48.    As a result of alleged knowing or willful violations of 47 U.S.C. § 227,
 5
     Plaintiff and all Class members are entitled to, and do seek, injunctive relief
 6
     prohibiting such conduct violating the TCPA in the future.
 7
           49.    As a result of Defendant’s knowing or willful violations of 47 U.S.C.
 8
     § 227, Plaintiff and all Class members are also entitled to, and do seek, treble
 9
     damages of up to $1,500.00 for each and every text message transmitted in
10
     violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3).
11
           50.    Plaintiff and Class members also seek an award of attorneys’ fees
12
     and costs.
13
                                    PRAYER FOR RELIEF
14
           WHEREFORE, Plaintiff prays for relief and judgment in her favor, as
15
     follows:
16
           1.     Injunctive relief prohibiting such violations of the TCPA in the
17
     future;
18
           2.     As a result of the alleged negligent violations of 47 U.S.C.
19
     § 227(b)(1), Plaintiff seeks for herself and each class member $500.00 in
20
     statutory damages for each and every text message that violated the TCPA;
21
           3.     As a result of the alleged willful or knowing violations of 47 U.S.C.
22
     § 227(b)(1), Plaintiff seeks for herself and each class member treble damages, as
23
     provided by the statute, of up to $1,500.00 for each and every text message that
24
     violated the TCPA;
25
           4.     An award of attorneys’ fees and costs to counsel for Plaintiff and the
26
     Class; and
27

28

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 1
           5.    An Order certifying this action to be a proper class action pursuant
 2
     to Federal Rule of Civil Procedure 23, establishing an appropriate Class and any
 3
     Subclasses the Court deems appropriate, finding that Plaintiff is a proper
 4
     representative of the Class, and appointing the law firm representing Plaintiff as
 5
     counsel for the Class.
 6
                                 DEMAND FOR JURY TRIAL
 7
           Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury
 8
     pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.
 9
     Dated: April 27, 2018                Respectfully submitted,
10
                                          BOTTINI & BOTTINI, INC.
11                                        Francis A. Bottini, Jr. (SBN 175783)
                                          Albert Y. Chang (SBN 296065)
12                                        Yury A. Kolesnikov (SBN 271173)
13                                        By: s/ Francis A. Bottini, Jr.   .
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                                          Four Embarcadero Center, Suite 1400
20                                        San Francisco, California 94111
                                          Telephone: (415) 766-3534
21                                        Facsimile: (415) 402-0058
22                                        Counsel for Plaintiff and the Putative Class
23

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27

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